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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

  UBIQUITI NETWORKS, INC.,


                           Plaintiff,

  v.
                                                      Civil Action No.: 1:18-cv-05369
  CAMBIUM NETWORKS, INC.;
  CAMBIUM NETWORKS, LTD.;                             JURY TRIAL DEMANDED
  BLIP NETWORKS, LLC;
  WINNCOM TECHNOLOGIES, INC.;
  SAKID AHMED; and DMITRY MOISEEV,

                           Defendants.


                                    NOTICE OF MOTION


         PLEASE TAKE NOTICE that on Thursday, December 20, 2018 at 9:00 a.m., or as soon

thereafter as counsel may be heard, the parties shall appear before the Honorable Gary Feinerman

or any judge sitting in his stead in Room 2125 of the Everett McKinley Dirksen United States

Courthouse, 219 South Dearborn Street, Chicago Illinois, and shall then and there present

Defendants’ Opposed Motion to Extend the Deadline to Produce ESI Pursuant to the MIDP

Standing Order from January 14, 2019 until 40 days after any amended pleading filed after the

entry of an order resolving the pending Motion to Dismiss or 40 days after the order denying

Defendants’ Motion to Dismiss.

Dated: December 17, 2018                        Respectfully submitted,

                                                BAKER BOTTS, LLP

                                               /s/ G. Hopkins Guy, III
                                                    One of their attorneys

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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 17, 2018, I electronically filed the foregoing Notice of
Motion with the Clerk of the Court using the CM/ECF system. I certify that all participants in the
case are registered CM/ECF users


                                             /s/ G. Hopkins Guy, III




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